     Case 2:21-cr-00443-PA Document 42 Filed 01/18/22 Page 1 of 17 Page ID #:155



1    TRACY L. WILKISON
     United States Attorney
2    SCOTT M. GARRINGER
     Assistant United States Attorney
3    Chief, Criminal Division
     JULIE J. SHEMITZ (Cal. Bar No. 224093)
4    Assistant United States Attorney
     International Narcotics, Money Laundering, and Racketeering Section
5         1400 United States Courthouse
          312 North Spring Street
6         Los Angeles, California 90012
          Telephone: (213) 894-5735
7         Facsimile: (213) 894-0142
          Cellphone: (213) 500-9369
8         E-mail:    julie.shemitz@usdoj.gov

9    Attorneys for Plaintiff
     UNITED STATES OF AMERICA
10
                             UNITED STATES DISTRICT COURT
11
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
     UNITED STATES OF AMERICA,               No. 21-00443-PA
13
               Plaintiff,                    PLEA AGREEMENT FOR DEFENDANT
14                                           TIMOTHY CORNELL PATTERSON
                     v.
15
     TIMOTHY CORNELL PATTERSON,
16
               Defendant.
17

18        1.   This constitutes the plea agreement between Timothy Cornell
19   Patterson (“defendant”) and the United States Attorney’s Office for
20   the Central District of California (the “USAO”) in the above-
21   captioned case.      This agreement is limited to the USAO and cannot
22   bind any other federal, state, local, or foreign prosecuting,
23   enforcement, administrative, or regulatory authority.
24                              DEFENDANT’S OBLIGATIONS
25        2.   Defendant agrees to:
26             a.      At the earliest opportunity requested by the USAO and
27   provided by the Court, appear and plead guilty to the single-count
28   indictment in United States v. Patterson, CR No. 21-00443-PA, which
     Case 2:21-cr-00443-PA Document 42 Filed 01/18/22 Page 2 of 17 Page ID #:156



1    charges defendant with being a felon in possession of a firearm and

2    ammunition in violation of 18 U.S.C. § 922(g)(1).

3              b.    Agree that all court appearances, including his change

4    of plea hearing and sentencing hearing, may proceed by video-

5    teleconference (“VTC”) or telephone, if VTC is not reasonably

6    available, so long as such appearances are authorized by General

7    Order 20-097 or another order, rule, or statute.          Defendant

8    understands that, under the Constitution, the United States Code, the

9    Federal Rules of Criminal Procedure (including Rules 11, 32, and 43),

10   he may have the right to be physically present at these hearings.

11   Defendant understands that right and, after consulting with counsel,

12   voluntarily agrees to waive it and to proceed remotely.           Defense

13   counsel also joins in this consent, agreement, and waiver.

14   Specifically, this agreement includes, but is not limited to, the

15   following:

16                   i.    Defendant consents under Section 15002(b) of the

17   CARES Act to proceed with his change of plea hearing by VTC or

18   telephone, if VTC is not reasonably available.

19                   ii.   Defendant consents under Section 15002(b) of the

20   CARES Act to proceed with his sentencing hearing by VTC or telephone,

21   if VTC is not reasonably available.

22             c.    Defendant consents under 18 U.S.C. § 3148 and Section

23   15002(b) of the CARES Act to proceed with any hearing regarding

24   alleged violations of the conditions of pre-trial release by VTC or

25   telephone, if VTC is not reasonably available.

26             d.    Not contest facts agreed to in this agreement.

27             e.    Abide by all agreements regarding sentencing contained

28   in this agreement.

                                          2
     Case 2:21-cr-00443-PA Document 42 Filed 01/18/22 Page 3 of 17 Page ID #:157



1                f.   Appear for all court appearances, surrender as ordered

2    for service of sentence, obey all conditions of any bond, and obey

3    any other ongoing court order in this matter.

4                g.   Not commit any crime; however, offenses that would be

5    excluded for sentencing purposes under United States Sentencing

6    Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not

7    within the scope of this agreement.

8                h.   Be truthful at all times with the United States

9    Probation and Pretrial Services Office and the Court.

10               i.   Pay the applicable special assessment at or before the

11   time of sentencing unless defendant has demonstrated a lack of

12   ability to pay such assessment.

13        3.     Defendant further agrees:

14               a.   To forfeit all right, title, and interest in and to

15   any and all monies, properties, and/or assets of any kind, derived

16   from or acquired as a result of, or involved in the illegal activity

17   to which defendant is pleading guilty, specifically including, but

18   not limited to, the following (collectively, the “Forfeitable

19   Assets”):

20                    i.    One Glock Model 26 Gen 4, 9mm caliber pistol

21   bearing serial number UFN731; and

22                    ii.   approximately 16 rounds of Speer Luger 9mm

23   caliber ammunition.

24               b.   To the Court’s entry of an order of forfeiture at or

25   before sentencing with respect to the Forfeitable Assets and to the

26   forfeiture of the assets.

27               c.   To take whatever steps are necessary to pass to the

28   United States clear title to the Forfeitable Assets, including,

                                          3
     Case 2:21-cr-00443-PA Document 42 Filed 01/18/22 Page 4 of 17 Page ID #:158



1    without limitation, the execution of a consent decree of forfeiture

2    and the completing of any other legal documents required for the

3    transfer of title to the United States.

4              d.    Not to contest any administrative forfeiture

5    proceedings or civil judicial proceedings commenced against the

6    Forfeitable Assets.    If defendant submitted a claim and/or petition

7    for remission for all or part of the Forfeitable Assets on behalf of

8    himself or any other individual or entity, defendant shall and hereby

9    does withdraw any such claims or petitions, and further agrees to

10   waive any right he may have to seek remission or mitigation of the

11   forfeiture of the Forfeitable Assets.

12             e.    Not to assist any other individual in any effort

13   falsely to contest the forfeiture of the Forfeitable Assets.

14             f.    Not to claim that reasonable cause to seize the

15   Forfeitable Assets was lacking.

16             g.    To prevent the transfer, sale, destruction, or loss of

17   any and all assets described above to the extent defendant has the

18   ability to do so.

19             h.    That forfeiture of Forfeitable Assets shall not be

20   counted toward satisfaction of any special assessment, fine,

21   restitution, costs, or other penalty the Court may impose.

22                              THE USAO’S OBLIGATIONS

23        4.   The USAO agrees to:

24             a.    Not contest facts agreed to in this agreement.

25             b.    Abide by all agreements regarding sentencing contained

26   in this agreement.

27             c.    At the time of sentencing, provided that defendant

28   demonstrates an acceptance of responsibility for the offense up to

                                          4
     Case 2:21-cr-00443-PA Document 42 Filed 01/18/22 Page 5 of 17 Page ID #:159



1    and including the time of sentencing, recommend a two-level reduction

2    in the applicable Sentencing Guidelines offense level, pursuant to

3    U.S.S.G. § 3E1.1.

4                d.   At the time of sentencing, recommend that the Court

5    apply a two-level downward variance pursuant to 18 U.S.C. § 3553(a).

6                               NATURE OF THE OFFENSE

7         5.     Defendant understands that for defendant to be guilty of

8    the crime charged in the single-count Indictment, that is, being a

9    felon in possession of a firearm and ammunition, in violation of 18

10   U.S.C. § 922(g)(1), the following must be true: (1) defendant

11   knowingly possessed a firearm or ammunition; (2) the firearm or

12   ammunition had been transported from one state to another or between

13   a foreign nation and the United States; and, (3) at the time

14   defendant possessed the firearm or ammunition, defendant had been

15   convicted of a crime punishable by imprisonment for a term exceeding

16   one year.

17                                     PENALTIES

18        6.     Defendant understands that the statutory maximum sentence
19   that the Court can impose for a violation of 18 U.S.C. § 922(g)(1)

20   is: 10 years’ imprisonment; a three-year period of supervised

21   release; a fine of $250,000 or twice the gross gain or gross loss

22   resulting from the offense, whichever is greatest; and a mandatory

23   special assessment of $100.

24        7.     The Court will also order forfeiture of the property listed

25   in the single-count Indictment pursuant to 18 U.S.C. § 924(d)(1) and

26   28 U.S.C. § 2461(c), or substitute assets up to the value of that

27   property.

28

                                          5
     Case 2:21-cr-00443-PA Document 42 Filed 01/18/22 Page 6 of 17 Page ID #:160



1         8.    Defendant understands that supervised release is a period

2    of time following imprisonment during which defendant will be subject

3    to various restrictions and requirements.        Defendant understands that

4    if defendant violates one or more of the conditions of any supervised

5    release imposed, defendant may be returned to prison for all or part

6    of the term of supervised release authorized by statute for the

7    offense that resulted in the term of supervised release, which could

8    result in defendant serving a total term of imprisonment greater than

9    the statutory maximum stated above.

10        9.    Defendant understands that, by pleading guilty, defendant

11   may be giving up valuable government benefits and valuable civic

12   rights, such as the right to vote, the right to possess a firearm,

13   the right to hold office, and the right to serve on a jury. Defendant

14   understands that he is pleading guilty to a felony and that it is a

15   federal crime for a convicted felon to possess a firearm or

16   ammunition.   Defendant understands that the conviction in this case

17   may also subject defendant to various other collateral consequences,

18   including but not limited to revocation of probation, parole, or

19   supervised release in another case and suspension or revocation of a

20   professional license.     Defendant understands that unanticipated

21   collateral consequences will not serve as grounds to withdraw

22   defendant’s guilty plea.

23        10.   Defendant and his counsel have discussed the fact that, and

24   defendant understands that, if defendant is not a United States

25   citizen, the conviction in this case makes it practically inevitable

26   and a virtual certainty that defendant will be removed or deported

27   from the United States.     Defendant may also be denied United States

28   citizenship and admission to the United States in the future.

                                          6
     Case 2:21-cr-00443-PA Document 42 Filed 01/18/22 Page 7 of 17 Page ID #:161



1    Defendant understands that while there may be arguments that

2    defendant can raise in immigration proceedings to avoid or delay

3    removal, removal is presumptively mandatory and a virtual certainty

4    if the defendant is not a United States citizen.          Defendant further

5    understands that removal and immigration consequences are the subject

6    of a separate proceeding and that no one, including his attorney or

7    the Court, can predict to an absolute certainty the effect of his

8    conviction on his immigration status.        Defendant nevertheless affirms

9    that he wants to plead guilty regardless of any immigration

10   consequences that his plea may entail, even if the consequence is

11   automatic removal from the United States.

12                                   FACTUAL BASIS

13        11.   Defendant admits that defendant is, in fact, guilty of the

14   offense to which defendant is agreeing to plead guilty.           Defendant

15   and the USAO agree to the statement of facts provided below and agree

16   that this statement of facts is sufficient to support a plea of

17   guilty to the charge described in this agreement and to establish the

18   Sentencing Guidelines factors set forth in paragraph 13 below but is
19   not meant to be a complete recitation of all facts relevant to the

20   underlying criminal conduct or all facts known to either party that

21   relate to that conduct.

22        On or about January 29, 2021 in Los Angeles County, within the

23   Central District of California, defendant knowingly possessed: (1) a

24   Glock Model 26 Gen 4, 9mm caliber pistol bearing serial number

25   UFN731; and (2) approximately 16 rounds of Speer 9mm caliber Luger

26   ammunition underneath the driver’s seat of his Mercedes-Benz bearing

27   California license plate 8MMV115, which defendant was driving in

28   Culver City, California.     The Glock pistol was manufactured outside

                                          7
     Case 2:21-cr-00443-PA Document 42 Filed 01/18/22 Page 8 of 17 Page ID #:162



1    the State of California, specifically either internationally or in

2    Georgia, and therefore had been transported between a foreign nation

3    and the United States or from another state into California when the

4    pistol was found in defendant’s possession.         All of the ammunition

5    was manufactured outside the State of California, specifically in

6    either Idaho or Minnesota, and therefore had been transported from

7    another state into California at the time the ammunition was found in

8    defendant’s possession.

9         In addition, at the time defendant knowingly possessed the

10   firearm and ammunition, he had been convicted of the following felony

11   offenses, each punishable by a term of imprisonment exceeding one

12   year: (1) Possession of Firearm by Convicted Felon, in violation of

13   California Penal Code Section 29800(a)(1), in the Superior Court of

14   the State of California, County of Sacramento, case number 14F01995,

15   on or about November 24, 2014; (2) Carrying a Loaded Firearm, in

16   violation of California Penal Code Section 12031(a), in the Superior

17   Court of the State of California, County of Sacramento, case number

18   08F09028, on or about January 28, 2009; (3) Sale of Marijuana, in

19   violation of California Health and Safety Code Section 11360(a), in

20   the Superior Court of the State of California, County of Sacramento,

21   case number 05F10640, on or about February 3, 2006; and (4)

22   Possession of Marijuana for Sale, in violation of California Health

23   and Safety Code Section 11359, in the Superior Court of the State of

24   California, County of Sacramento, case number 05F10640, on or about

25   February 3, 2006.    At the time defendant knowingly possessed the

26   firearm and ammunition, defendant knew that he had been convicted of

27   each of these offenses and that each offense was punishable by a term

28   of imprisonment exceeding one year.

                                          8
     Case 2:21-cr-00443-PA Document 42 Filed 01/18/22 Page 9 of 17 Page ID #:163



1                                 SENTENCING FACTORS

2         12.   Defendant understands that in determining defendant’s

3    sentence the Court is required to calculate the applicable Sentencing

4    Guidelines range and to consider that range, possible departures

5    under the Sentencing Guidelines, and the other sentencing factors set

6    forth in 18 U.S.C. § 3553(a).      Defendant understands that the

7    Sentencing Guidelines are advisory only, that defendant cannot have

8    any expectation of receiving a sentence within the calculated

9    Sentencing Guidelines range, and that after considering the

10   Sentencing Guidelines and the other § 3553(a) factors, the Court will

11   be free to exercise its discretion to impose any sentence it finds

12   appropriate up to the maximum set by statute for the crime of

13   conviction.

14        13.   Defendant and the USAO agree to the following applicable

15   Sentencing Guidelines factors:

16     Base Offense Level:                    14     U.S.S.G. § 2K2.1(a)(6)(A)

17   Defendant and the USAO further reserve the right to argue that

18   additional specific offense characteristics, adjustments, and
19   departures under the Sentencing Guidelines are appropriate.

20   Defendant understands that defendant’s offense level could be

21   increased if defendant is a career offender under U.S.S.G. §§ 4B1.1

22   and 4B1.2.    If defendant’s offense level is so altered, defendant and

23   the USAO will not be bound by the agreement to Sentencing Guideline

24   factors set forth above.

25        14.   Defendant understands that there is no agreement as to

26   defendant’s criminal history or criminal history category.

27        15.   Defendant and the USAO reserve the right to argue for a

28   sentence outside the sentencing range established by the Sentencing

                                          9
     Case 2:21-cr-00443-PA Document 42 Filed 01/18/22 Page 10 of 17 Page ID #:164



1    Guidelines based on the factors set forth in 18 U.S.C. § 3553(a)(1),

2    (a)(2), (a)(3), (a)(6), and (a)(7).

3                          WAIVER OF CONSTITUTIONAL RIGHTS

4         16.   Defendant understands that by pleading guilty, defendant

5    gives up the following rights:

6               a.    The right to persist in a plea of not guilty.

7               b.    The right to a speedy and public trial by jury.

8               c.    The right to be represented by counsel –- and if

9    necessary have the Court appoint counsel -- at trial.           Defendant

10   understands, however, that, defendant retains the right to be

11   represented by counsel –- and if necessary have the Court appoint

12   counsel –- at every other stage of the proceeding.

13              d.    The right to be presumed innocent and to have the

14   burden of proof placed on the government to prove defendant guilty

15   beyond a reasonable doubt.

16              e.    The right to confront and cross-examine witnesses

17   against defendant.

18              f.    The right to testify and to present evidence in

19   opposition to the charges, including the right to compel the

20   attendance of witnesses to testify.

21              g.    The right not to be compelled to testify, and, if

22   defendant chose not to testify or present evidence, to have that

23   choice not be used against defendant.

24              h.    Any and all rights to pursue any affirmative defenses,

25   Fourth Amendment or Fifth Amendment claims, and other pretrial

26   motions that have been filed or could be filed.

27

28

                                          10
     Case 2:21-cr-00443-PA Document 42 Filed 01/18/22 Page 11 of 17 Page ID #:165



1                          WAIVER OF APPEAL OF CONVICTION

2         17.   Defendant understands that, with the exception of an appeal

3    based on a claim that defendant’s guilty plea was involuntary, by

4    pleading guilty defendant is waiving and giving up any right to

5    appeal defendant’s conviction on the offense to which defendant is

6    pleading guilty.    Defendant understands that this waiver includes,

7    but is not limited to, arguments that the statutes to which defendant

8    is pleading guilty are unconstitutional, and any and all claims that

9    the statement of facts provided herein is insufficient to support

10   defendant’s plea of guilty.

11                  LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

12        18.   Defendant agrees that, provided the Court imposes a term of

13   imprisonment within or below the range corresponding to an offense

14   level of 10 and the criminal history category calculated by the

15   Court, defendant gives up the right to appeal all of the following:

16   (a) the procedures and calculations used to determine and impose any

17   portion of the sentence; (b) the term of imprisonment imposed by the

18   Court; (c) the fine imposed by the Court, provided it is within the
19   statutory maximum; (d) to the extent permitted by law, the

20   constitutionality or legality of defendant’s sentence, provided it is

21   within the statutory maximum; (e) the term of probation or supervised

22   release imposed by the Court, provided it is within the statutory

23   maximum; and (f) any of the following conditions of probation or

24   supervised release imposed by the Court: the conditions set forth in

25   Second Amended General Order 20-04 of this Court; the drug testing

26   conditions mandated by 18 U.S.C. §§ 3563(a)(5) and 3583(d); and the

27   alcohol and drug use conditions authorized by 18 U.S.C. § 3563(b)(7).

28

                                          11
     Case 2:21-cr-00443-PA Document 42 Filed 01/18/22 Page 12 of 17 Page ID #:166



1         19.   The USAO agrees that, provided (a) all portions of the

2    sentence are at or below the statutory maximum specified above and

3    (b) the Court imposes a term of imprisonment within or above the

4    range corresponding to an offense level of 10 and the criminal

5    history category calculated by the Court, the USAO gives up its right

6    to appeal any portion of the sentence.

7                            WAIVER OF COLLATERAL ATTACK

8         20.   Defendant also gives up any right to bring a post-

9    conviction collateral attack on the conviction or sentence, except a

10   post-conviction collateral attack based on a claim of ineffective

11   assistance of counsel, a claim of newly discovered evidence, or an

12   explicitly retroactive change in the applicable Sentencing

13   Guidelines, sentencing statutes, or statutes of conviction.

14   Defendant understands that this waiver includes, but is not limited

15   to, arguments that the statutes to which defendant is pleading guilty

16   are unconstitutional, and any and all claims that the statement of

17   facts provided herein is insufficient to support defendant’s plea of

18   guilty.

19                       RESULT OF WITHDRAWAL OF GUILTY PLEA

20        21.   Defendant agrees that if, after entering a guilty plea

21   pursuant to this agreement, defendant seeks to withdraw and succeeds

22   in withdrawing defendant’s guilty plea on any basis other than a

23   claim and finding that entry into this plea agreement was

24   involuntary, then the USAO will be relieved of all of its obligations

25   under this agreement.

26

27

28

                                          12
     Case 2:21-cr-00443-PA Document 42 Filed 01/18/22 Page 13 of 17 Page ID #:167



1                            EFFECTIVE DATE OF AGREEMENT

2         22.   This agreement is effective upon signature and execution of

3    all required certifications by defendant, defendant’s counsel, and an

4    Assistant United States Attorney.

5                                 BREACH OF AGREEMENT

6         23.   Defendant agrees that if defendant, at any time after the

7    signature of this agreement and execution of all required

8    certifications by defendant, defendant’s counsel, and an Assistant

9    United States Attorney, knowingly violates or fails to perform any of

10   defendant’s obligations under this agreement (“a breach”), the USAO

11   may declare this agreement breached.        All of defendant’s obligations

12   are material, a single breach of this agreement is sufficient for the

13   USAO to declare a breach, and defendant shall not be deemed to have

14   cured a breach without the express agreement of the USAO in writing.

15   If the USAO declares this agreement breached, and the Court finds

16   such a breach to have occurred, then: (a) if defendant has previously

17   entered a guilty plea pursuant to this agreement, defendant will not

18   be able to withdraw the guilty plea, and (b) the USAO will be

19   relieved of all its obligations under this agreement.

20           COURT AND UNITED STATES PROBATION AND PRETRIAL SERVICES

21                                 OFFICE NOT PARTIES

22        24.   Defendant understands that the Court and the United States

23   Probation and Pretrial Services Office are not parties to this

24   agreement and need not accept any of the USAO’s sentencing

25   recommendations or the parties’ agreements to facts or sentencing

26   factors.

27        25.   Defendant understands that both defendant and the USAO are

28   free to: (a) supplement the facts by supplying relevant information

                                          13
     Case 2:21-cr-00443-PA Document 42 Filed 01/18/22 Page 14 of 17 Page ID #:168



1    to the United States Probation and Pretrial Services Office and the

2    Court, (b) correct any and all factual misstatements relating to the

3    Court’s Sentencing Guidelines calculations and determination of

4    sentence, and (c) argue on appeal and collateral review that the

5    Court’s Sentencing Guidelines calculations and the sentence it

6    chooses to impose are not error, although each party agrees to

7    maintain its view that the calculations in paragraph 13 are

8    consistent with the facts of this case.         While this paragraph permits

9    both the USAO and defendant to submit full and complete factual

10   information to the United States Probation and Pretrial Services

11   Office and the Court, even if that factual information may be viewed

12   as inconsistent with the facts agreed to in this agreement, this

13   paragraph does not affect defendant’s and the USAO’s obligations not

14   to contest the facts agreed to in this agreement.

15        26.   Defendant understands that even if the Court ignores any

16   sentencing recommendation, finds facts or reaches conclusions

17   different from those agreed to, and/or imposes any sentence up to the

18   maximum established by statute, defendant cannot, for that reason,

19   withdraw defendant’s guilty plea, and defendant will remain bound to

20   fulfill all defendant’s obligations under this agreement.            Defendant

21   understands that no one –- not the prosecutor, defendant’s attorney,

22   or the Court –- can make a binding prediction or promise regarding

23   the sentence defendant will receive, except that it will be within

24   the statutory maximum.

25                             NO ADDITIONAL AGREEMENTS

26        27.   Defendant understands that, except as set forth herein,

27   there are no promises, understandings, or agreements between the USAO

28   and defendant or defendant’s attorney, and that no additional

                                          14
      Case 2:21-cr-00443-PA Document 42 Filed 01/18/22 Page 15 of 17 Page ID #:169




 1    promise, understanding, or agreement may be entered into unless in             a

 2    writing signed by aII parties or on the record in court.
                         PLEA AGREEMENT PART OF THE GUILTY PLEA HEARING

 4          28. The parties agree that this agreement will be consj-dered
 q
      part of the record of defendant's guilty plea hearing as if the
 6    entire agreement had been read into the record of the proceeding.
 7    AGREED AND ACCEPTED

 B    UN]TED STATES ATTORNEY' S OFFICE
      FOR THE CENTRAL DISTRTCT OF
 9    CALIFORNIA

10    TRACY L. WTLKTSON
      United States Attorney
11

1-2                                                         1/14/2022
      JULIE J       SHEM]TZ                               Date
13    Assis             United       es Attorney
1,4
      TI      HY   CO            TTERSON
                                                            tlHlzz
                                                          Date
15

t6
      STANLEY I             ENBERG
                                                           r{t L'¿/
                                                          Date
T7    EUGENE P
      Attorneys for Defendant Tl             HY
1B    CORNELL PATTERSON
1,9                                  CERTIFICATTON OF DEFENDANT
20         I have read this agreement in its entirety.   I have had enough
27    time to review and consider this agreement, and I have carefully and
22    thoroughly discussed every part of it with my attorney(s). I
23    understand the terms of this agreement, and I voluntarily           agree to
24    those terms. I have discussed the evidence with my attorney(s),            and
25    my attorney(s) has advised me of my rights, of possible pretrial
26    motions that might be fited, of possibl-e defenses that might be
21    asserted either prior to or at trial, of the sentencing factors set
2B    forth in 18 U.S.C. S 3553(a), of relevant Sentencing Guídelines
                                                   15
      Case 2:21-cr-00443-PA Document 42 Filed 01/18/22 Page 16 of 17 Page ID #:170




 L    provisions, and of the consequences of entering into this agreement.
 2    No promises, inducements, or representations of any kind have been
      made to me other than those contained in t.his agreement. No one has
 4    threatened or forced me ín any way to enter into this agreement. I
 q    am satj-sfied with the representation of my attorney(s) in this
 6    matter, and f am pleading guilty because I am guilty ot the charge
 7    and wish to take advantage of the promises set forth in thís
 B    agreemen L       and   n          any other reason.
 9

10    TIMOTHY CORNELL             TTERSON
                                                              if
                                                            Date
                                                                   va   ln
      Defendant
11_


12                               CERT]FICATION OF DEFENDANT' S ATTORNEY
13           I   am   Timothy Cornell- Patterson's attorney.            I have carefully     and

T4    thoroughly discussed every part of this agreement with my client.
1_5   Further, I have fully advised my client of his rights, af possible
1"6   pretrial motions that might be filed, of possible defenses that might
I1    be asserted either prior to or at trial, of the sentencing factors
1B    set forth in 18 U.S.C. S 3553(a), of relevant Sentencing Guidelines
L9    provisions, and of the consequences of entering into this agreement.
20    To my knowledge: no promises, inducements, or representations of any
2L    kind have been made to my cl-ient other than those conLained in this
22    agreement; no one has threatened or forced my client                   in any way to
23    enter into this agreement,' my client's decision to enter into this
24    agreement is an informed and voluntary one; and the factual basis set
25

zb

27

¿ö

                                                 L6
      Case 2:21-cr-00443-PA Document 42 Filed 01/18/22 Page 17 of 17 Page ID #:171




 1    forth in this agreement is sufficient to support my client's entry of
 2    a    Ity plea   rsuant to this a greement
 3

 4    STANLEY T.      ENBERG                           Date
                                                              /rt ( UL-
      EUGENE PAU
 5    Attorney f       fenda          HY
      CORNELL PATTERSON
 6

 7

 B


 Y


10

11

I2
13

1-4

1-5

t6
t7
1B

T9

20

2L

22

23

24

25

26

27

2B

                                           I7
